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                                                                         United States Bankruptcy Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                               March 19, 2025
                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS                      Nathan Ochsner, Clerk

                              HOUSTON DIVISION

   IN RE:                                   §
                                            §      CASE NO: 22-33553
   ALEXANDER E. JONES,                      §
                                            §
             Debtor.                        §
                                            §
                                            §      CHAPTER 7

    ORDER DENYING FUAC’S MOTION SEEKING LEAVE TO FILE A MOTION
APPROVING THE SALE OF FSS ASSETS AND REQUEST FOR STATUS CONFERENCE
                           (RE: ECF NO. 1089)

          This Court said at a hearing on February 6, 2025 that it would not allow a
   sale of FSS assets, and that parties should consider the Court’s supplemental order
   null and void for the reasons stated at the hearing. Nothing has changed. The Court
   won’t require the Chapter 7 Trustee to conduct another auction for the FSS assets.
   FUAC also does not have standing to seek a sale of FSS assets under Section 363 of
   the Bankruptcy Code. The motion is denied.

            Signed on March 19, 2025


                                                __________________________________
                                                Christopher Lopez
                                                United States Bankruptcy Judge
